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      2    UNITED STATES BANKRUPTCY COURT

      3    SOUTHERN DISTRICT OF NEW YORK
      4


      5              In the Matter

      6                    of                            Case No.
                                                         01   B    14312
      7    MAGNESIUM CORPORATION
           OF AMERICA,
      8
                                         Debtors.
      9
                                                     X


     10
                                            February 14,      2003
     11
                                            United States Custom House
     12                                     One Bowling Green
                                            New York, New York 10004
     13

     14              Motion of Ad Hoc Committee for the
           Appointment of a Trustee or Alternatively
     15    Conversion of this Case to Chapter 7.

     16
           BEFORE:
     17
                                  HON.   ROBERT E.   GERBER,
     18
                                                  U.S. Bankruptcy Judge
     19

     20

     21

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      2   APPEARANCES:

      3             CHADBOURNE & PARKE,       LLP
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                               New York, New York 10112
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                    BY:        JOSEPH H.    SMOLINSKY,     ESQ.,
      6                                                  of Counsel

      7

      8             GOLENBOCK, EISEMAN, ASSOR, BELLE & PESKOE,
                    ESQS.
      9                        Attorneys for Ad Hoc Committee of
                               Senior Noteholders
     10                        437 Madison Avenue
                               New York, New York 10022
     11
                     BY:       JANICE B. GRUBIN, ESQ., of Counsel
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     14              SHIPMAN & GOODWIN,       ESQS.
                               Attorneys for the Indentured
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                               of Unsecured Creditors
     16                        One American Row
                               Hartford,    Connecticut 06103
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                     BY:       MARIANNE WALLACE, ESQ.,          of Counsel
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                     CHAPMAN & CUTLER,      ESQS.
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                               Committee of Unsecured Creditors
     21                        111 West    Monroe S t r e e t
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     22
                     BY:       FRANK TOP,     ESQ.,   of Counsel
     23                         (Via phone)
     24

     25




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      2    APPEARANCES                   (Continued):

      3


      4              EDWARD CHANG, ESQ.
                     MARK ELMER, ESQ.
      5              United States Department of Justice
                     United States Attorney's Office
      6              Southern District of New York
                               100 Church Street
      7                        New York,    New York 10007

      8


      9              CAROLYN S.    SCHWARTZ,     ESQ.
                     United States Trustee
     10                        33 Whitehall Street
                               New York, New York 10004
     11              BY:       TRACY HOPE DAVIS, ESQ., of Counsel
                                         -and-
     12                        GREG M.    ZIPES, ESQ.,    of Counsel

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      1                Magnesium Corporation of America
      2                          PROCEEDINGS

      3                        THE COURT:     Good morning, please be

      4    seated.     Okay, Magnesium Corporation of America.
      5                        Can I get everybody who wants to be

      6    heard on that one up at the counsel tables, please?
      7    1 gather there may be some people on the phone.                   1
      8    want everybody to identify themselves on the record
      9    both in the courtroom and then on the phone.                 And 1

     10    want you to sit down, 1 have some comments 1 want
     11    to say.

     12                        For the Debtor 1 see Mr. Smolinsky;

     13    for the movants, Ms. Grubin; and Ms. Davis for the

     14    U.S.   Trustee.


     15                        Are you also here to appear for the
     16    U.S.   Trustee?

     17                        MR. CHANG:      Yes, although I'm here

     18    to observe only.

     19                        THE COURT:      Anybody else in the

     20    courtroom?


     21                        MR.   SMOLINSKY:     Your Honor,     1 would

     22    ask if your Honor is agreeable to find out who is
     23    in the courtroom today, even if they are not

     24    planning on speaking and to find out which parties
     25    they represent.



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      1                Magnesium Corporation of America
      2                        THE COURT:       Is there anybody here

      3    who is a counsel for another party who is in the

      4    courtroom?      I don't think it's appropriate for me,

      5    Mr. Smolinsky, to ask if anybody is in the press or
      6    anything who is observing the proceeding.
      7                        Who is on the phone?

      8                        MR. TOP:     Your Honor,    Frank Top from

      9    Chapman & Cutler on behalf of the official
     10    committee.

     11                        THE COURT:       Good morning.

     12                        MR. TOP:     Good morning to you.

     13                        MS.   WALLACE:     Marianne Wallace from

     14    Shipman & Goodwin on behalf of the Indentured
     15    Trustee, U.S. Bank National Association.

     16                        THE COURT:       Yes,   1 read your

     17    signature.

     18                        Anyone else?       Okay, fair enough.

     19                        As is usual in my Court, when it's

     20    time to make your presentations, 1 want you to make

     21    them as you see fit.          But 1 had problems with both

     22    sides'    briefs that were submitted on this motion of

     23    a   failure to d r i l l down as to what 1       see as the

     24    real    issues on t h i s .

     25                         Some of my comments are obviously


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      1                Magnesium Corporation of America
      2   going to be directed toward the movants, others/
      3   roughly an equivalent number, are going to be
      4   directed toward the debtor.

      5                       My general view is that where

      6    there's no debtor misconduct or incompetence, and

      7   we haven't had any indications of that here,

      8    although obviously I'm aware of the conflicts in
      9    this case of interest that have been alleged by the

     10   movant, that you get the most money into the
     11    pockets of creditors by keeping or preserving the
     12    benefits of the debtor in possession and the debtor
     13    in possession's counsel.          And dealing with conflict
     14    type issues by the issuance of an STN or Commodore,
     15    Housecraft type of order.

     16                        The issue in this case is whether a

     17    Commodore, Housecraft, STN type order is going to

     18    skin the cat or not or whether the interests,                the

     19    needs of the creditors, require more than that.

     20                        I was puzzled by the fact that

     21    neither side in its brief addresses what I               think is

     22    key; and although it appeared in nobody's brief, it
     23    appeared in a letter that was attached to the
     24    movant's reply.

     25                        The creditors may want to make a 108



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      1                Magnesium Corporation of America

      2    argument for the next couple of years, reach back
      3    and bring on any kinds of avoidance actions, which
      4    when you are talking about events that took place
      5    in 1996, might be significant, at least if, and to
      6    the extent, that New York statutes of limitations
      7    apply, which normally don't go beyond six years,
      8    except in the case of fraud length concealment.
      9                        I was really, really surprised that

     10    Ms. Grubin -- that the bondholders cited

     11    Cybergenics for a host of reasons, not just that
     12    it's vacated, not just that it's been so widely
     13    criticized by just about everybody, other than the
     14    panel of the three judges in the Third Circuit who
     15    issued that decision, but most fundamentally,

     16    because we are in the Second Circuit where STN,

     17    Commodore and Housecraft are the controlling

     18    authority on me.

     19                        I   have zero doubt that I       can vest in

     20    the Creditors Committee, the power to fully

     21    prosecute the kinds of actions that we are talking
     22    about.     And I have almost as much certainty that I

     23    can authorize the bondholders to do i t as well.

     24                        So the issue in my mind is whether,

     25    with that power, it's better for creditors to give


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      1                Magnesium Corporation of America

      2    them the STN, Commodore authority, on the one hand,
      3    or to additionally appoint a Trustee.              And I was
      4    surprised and a little disappointed that the
      5    movant's papers didn't address what I think may be
      6    the things that we're going to be hearing from Mr.
      7    Smolinsky, as to the interest of creditors is
      8    better served in doing battle with PacificCorp and

      9    dealing with the needs and the concerns of the EPA
     10    to keep incumbent counsel or management in place
     11    where they have issues.

     12                        Mr. Chang's letter underscored that,

     13    which if accepted by the Utah courts or the Utah

     14    PSC or by entities other than me, could give rise
     15    to very substantial administrative costs, that

     16    would ensure that nothing is left for the

     17    unsecureds.

     18                         I also do not believe that in any

     19    way, shape or form this case is a Hampton Hotel

     20    case.


     21                        Now,   with that said, Mr. Smolinsky,

     22    you acknowledge, as you must, that at least an STN

     23    order is appropriate here.           But I have some

     24    difficulty in seeing how I can deprive the

     25    bondholders the ability to argue the 108 point, if


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      1                Magnesium Corporation of America
      2    any, that they can squeeze out a little extra time
      3    on the statute of limitations on the 108 or if they

      4    want to try to make an argument of that character.
      5                        I haven't focused on the 108 point

      6    in several years.         And the last time that I focused
      7    on it, and I recognized that my learning on this is
      8    very stale, I recall then that the applicability of
      9    108 was a matter of debate and that there was a

     10    conflict in the cases on that point.

     11                        I t seems to me that is one of,          at

     12    most, two ways of getting money into the pocket of

     13    the estate, and therefore, into the pockets of the

     14    creditors,     I have difficulty seeing how I can

     15    deprive the creditors to have the opportunity to

     16    make their 108 argument without prejudging how I

     17    would decide the 108 actions once they were made.

     18                        So,   if that is the case, that tilts

     19    in favor of me appointing a Trustee of one type or

     20    another under 1107, even though in the perfect

     21    world,    I would like to keep the incumbency we're

     22    dealing with to the PacificCorp issues, and to the

     23    extent relevant or appropriate, the EPA issues.

     24                        The second point that you make,

     25    which is that there is potential money on the



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      1                Magnesium Corporation of America

      2    table, but only if the outcome of this hearing is
      3    favorable, in what I think was articulated in one
      4    or another of the papers as the sole discretion of
      5    one of the other --of the debtor's affiliates,

      6    strikes me as heavy-handed.           Saying that there
      7    might be some kind of money to throw in the pot to
      8    meet administrative expenses if somebody is pleased

      9    with the outcome of this hearing is, and I don't

     10    think it's just a matter of my ego, offensive to
     11    me.    It's not a bribe, of course, at least i t ' s not

     12    a bribe of me, but why in a thousand years should I

     13    let a veiled threat like that one influence the way

     14    I decide things today.

     15                        The only issue,      as far as I'm

     16    concerned -- and I       think you can see why I was

     17    troubled by the failure of the papers to really get

     18    their arms around this issue -- is what's going to

     19    put more money into the pockets of creditors,

     20    administrative creditors and, perhaps

     21    unrealistically, unsecured creditors by the amalgam

     22    of reducing administrative claims against the

     23    estate and by any accretion into the estate that

     24    might occur as a consequence of litigation against

     25    a third party, which might ultimately turn out to



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     1                 Magnesium Corporation of America

      2   be successful, and that's what I need both sides to
      3   focus on in their arguments.

      4                        I also did not see,      and i t may be

      5   because nothing was filed or it may be because
      6   something got lost out of my statement, of views
      7   from the U.S. Trustee; but, Ms. Davis,              if you have

      8   any views, I would be very interested in hearing
      9   what views you have.

    10                         MS. DAVIS:      Thank you, your Honor.

    11                         THE COURT:     Ms. Grubin,     I would like

    12    you to start up, and come up to the main podium so
    13     everybody can hear.

    14                         MS. GRUBIN:     Very good, your Honor.

    15    Your Honor,      Janice Grubin here from Golenbock,

    16     Eiseman, Assor, Belle & Peskoe.            And as the court

    17     knows, we are co-counsel and we are here on behalf

     18    of the Ad Hoc Committee of senior noteholders.                    And

     19    it is our motion for the appointment of a Trustee

     20    in the Chapter 11 here in these cases, or

     21    alternatively, the conversion of this case to a

     22    Chapter 7.      I have in the courtroom two

     23    representatives of this committee.             The AIG

     24    Investment Corp., as well as Ramius Capital Corp.

     25    and I might say one of those two persons has to



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      1                Magnesium Corporation of America

      2    leave a little earlier, and I apologize for any

      3    disruption that will cause.
      4                        Your Honor, I will obviously direct

      5    my argument to the court's concerns and dispense
      6    with laying the foundation that I was prepared to
      7    argue this morning and will simply incorporate by
      8    reference, all of the arguments and statements and

      9    representations made in both our motion as well as
     10    in our reply that was filed and served yesterday.
     11    We would incorporate obviously by reference all of
     12    the arguments made.

     13                        I would also note, your Honor, this

     14    is not a contested hearing.           There are no facts

     15    that appear to be at issue, and this is appearing
     16    to be a legal argument here.            And we believe we

     17    have met all the facts on the legal cause under

     18    1104 as well as 1112(b).

     19                        With respect to our view as to what

     20    will put the most money, cutting right to the

     21    chase, what will put the most money in the pockets

     22    of the creditors here, not surprisingly, your

     23    Honor,    i t is our view that either a Chapter 11

     24    Trustee or a Chapter 7 conversion will generate --

     25    it has the potential to generate more recovery for


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      1                Magnesium Corporation of America
      2    all creditors than if the case remains in the

      3    Chapter 11 without a Trustee and continues its
      4    winddown, presumably by some kind of a liquidating
      5    plan.

      6                        We believe that the estates are

      7    administratively insolvent, although the debtor has
      8    not quite conceded to that, and you know, there
      9    really is -- debtor's counsel has admitted that it
     10    has about 300,000 dollars in unpaid fees.                The most

     11    recent operating report indicated 245,000 dollars
     12    in cash and cash equivalents.

     13                        THE COURT:      In the t i l l you mean?

     14                        MS.   GRUBIN:    Excuse me.     245,000

     15    bucks in the till, yes, as of October 31, 2002.

     16    And paragraph 11 of the debtor's objection

     17    indicates that they have unpaid fees of

     18    approximately 300,000 dollars.

     19                        THE COURT:      All   to Chadbourne or are

     20    there other folks who haven't been paid either?

     21                        MS. GRUBIN:      I believe i t was only

     22    to Chadbourne that was represented.

     23                        THE COURT:      Okay.

     24                        MS. GRUBIN:      And, you know,      frankly,

     25    your Honor, we don't understand how it is that the


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      1                Magnesium Corporation of America
      2    debtor will be able to continue to fund this

      3    litigation or whatever it needs to do with
      4    PacificCorp or anything else in the case, absent
      5    this proposed funding by the debtor's affiliate,
      6    which seems to us to be very vague and oblique, and
      7    we really don't understand the terms of that
      8    funding.      It seems very unilateral.

      9                        We understand it may be presented to

     10    the Court for approval, but we think it is another
     11    evidence of control in this case by affiliated

     12    parties, and including Mr. Rennert, and we don't
     13    think it's appropriate.

     14                        For these reasons, we believe i t is

     15    appropriate for this Court to appoint a Trustee, or

     16    perhaps convert this case.           It's in its discretion
     17    the court can do that,         the court knows that, and

     18    get a Trustee on board who is aware of the risks in
     19    this case and can bring in counsel who can conduct

     20    the kind of investigation and possibly litigation

     21    that the committee began so many months ago.

     22                        We really believe -- I know that my

     23    clients have conferred with a           number of counsel on

     24    a variety of issues, including the statute of

     25    limitations issues under 108(a), and they have



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      1                Magnesium Corporation of America

      2    concluded, particularly the law firms whose papers
      3    we have attached to our reply, that there are

      4    viable causes of actions here that they are

      5    prepared, after a brief investigation, to
      6    prosecute.

      7                        And this is an experienced firm that

      8    does a lot of contingency work in bankruptcy.                   They

      9    spent 60 to 80 hours reviewing the various files in
     10    this case, and it is their considered opinion that

     11    there are viable causes of action here.                  And they

     12    have asked and are concerned about the fact that

     13    while we are in the Second Circuit, and, your

     14    Honor, the trilogy of decisions, STN, Commodore and

     15    Housecraft,      indicate that this Court has the

     16    ability to approve an agreement between counsel and

     17    -- the debtors and the creditors authorizing such

     18    creditors either in the capacity of a committee or

     19    sole creditors such as,         for instance,     this

     20    bondholder committee to prosecute avoidance causes

     21    of action.      There is still some uncertainty if down

     22    the road Cybergenics has been vacated, but the

     23    hearing on that will be reheard this month,                 I

     24    believe.

     25                        THE COURT:      What difference would




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      1                Magnesium Corporation of America
      2    that make, Ms. Grubin --

      3                        MS. GRUBIN:     The difference --

      4                        THE COURT:       -- for a bankruptcy

      5    judge who considers the Second Circuit binding upon
      6    him.

      7                        MS. GRUBIN:      If the Third Circuit

      8    issued its ruling whichever way, it's clear to me
      9    that it would be appealed.           And if the Supreme

     10    Court granted cert and then it heard argument and
     11    issued an opinion, if that opinion embraced a
     12    position that was contrary to the established
     13    practice in this district --

     14                        THE COURT:     This circuit?

     15                        MS. GRUBIN:      Excuse me,    your Honor,

     16    yes, in this circuit.

     17                        THE COURT:     And every circuit other

     18    than the Third,      insofar as I'm aware.

     19                        MS. GRUBIN:      Yes, your Honor, that's

     20    correct.      But because of that uncertainty, we are

     21    here before you to argue for the assignment of a

     22    Trustee under 1103       --   or 1104.

     23                        Truthfully, we have had

     24    conversations with Mr. Smolinsky under an STN like

     25    the Commodore, Housecraft stipulation, but we just


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      1                 Magnesium Corporation of America

      2    couldn't get there.           My clients could not.
      3                        THE COURT:      Well, the sticking point

      4    is you need 108 to bootstrap, don't you?
      5                        MS. GRUBIN:      Yes,   we do.       And we are

      6    also concerned under 546 (a),         that the two-year

      7    period is going to run out this August.
      8                        And again, your Honor,        I am not as

      9    close to the analysis of these claims because I was

     10    brought in as bankruptcy counsel to argue this
     11    motion and to draft this motion,            but -- and I've

     12    been told the contemplated investigation is not

     13    going to be extensive to determine whether or not,

     14    finally,     there should be prosecution of these

     15    claims avoidance actions under 546(a)             that time

     16    period runs August -- August 27th, so we are

     17    concerned about       that.

     18                         THE COURT:     Talk about their point

     19    concerning the benefits of the learning curve in

     20    dealing with issues raised by PacificCorp and by

     21    the   EPA.

     22                         MS. GRUBIN:     Admittedly, there is a

     23    learning curve that's going to have to be utilized

     24    by a Chapter 11 Trustee or a Chapter 7 Trustee and

     25    that's -- perhaps that's why a Chapter 7 would have



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      1                 Magnesium Corporation of America

      2    to be utilized here because then you won't have to

      3    have a plan process to be conducted and you would
      4    have no need for a committee and you would

      5    automatically eliminate a whole host of

      6    professionals.       I am confident that counsel can be
      7    appointed just as efficiently as Mr. Smolinsky's
      8    firm i s .

      9                        THE COURT:      Would a Chapter 7

     10    Trustee or,     for that matter,         a Chapter 11 Trustee,

     11    be able to use Mr. Smolinsky as counsel for special

     12    purposes to deal with that?

     13                        MS.   GRUBIN:    I    think i t would be

     14    considered i f     i t was.

     15                        THE COURT:      Don't the talk quite so

     16    much as considered.           Are you aware of any legal

     17    impediment to that?           Yes or no.

     18                        MS.   GRUBIN:    I    am not.


     19                        THE COURT:      Continue, please.

     20                        MS.   GRUBIN:    Your Honor,     as the

     21    court knows,      there is an overwhelming majority of

     22    creditors who joined in this motion and we have see

     23    motions in support of this, as well as the debtor

     24    and the trustee,       and both of them are on the phone,

     25    and the only motion that's objected to is the



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      1                  Magnesium Corporation of America
      2    debtors.       I submit that we have submitted the

      3    standards of cause under 1104 as well as under

      4    1112(b), and the only issues really is under that

      5    section.       We will ask the court to grant the

      6    appointment of a Trustee here.
      7                         We would point the court to the

      8    authority cited in our motion, particularly the

      9    Intercad case, the PSR Insurance case, the Corville

     10    William Vaughn and L.S. Good cases, which all of
     11    them acknowledge there are potentially causes of

     12    interest that constitutes cause alone under 1104,

     13        (2), and possibly (1), cause the appointment of a

     14    Trustee.


     15                         THE COURT:       I ' l l hear the     (a) (2)

     16    argument.       I have yet to hear anything that leads

     17    me to -- there is cause under            (a)(1).    I     can see

     18    why you do believe -- I don't want to under

     19    strength the point of the issue, and vis-a-vis the

     20    conflicts case, makes i t in the interest of

     21    creditors to appoint it, but I have to find a lot

     22    more under fraud or mismanagement.               I need to see a

     23    l o t more.

     24                         MS. GRUBIN:      Under 1102, we believe

     25    the conflicts situation has been created by what we



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      1                 Magnesium Corporation of America
      2    understand to be the kind of salient presence of

      3    Mr. Rennert and his affiliates throughout these

      4    cases to constitute cause under 1104(a)(2),                 such as

      5    i t would be in the best interest of the creditors,

      6    in this case or in the interest of creditors that a

      7    Trustee be appointed and that the court appoint a
      8    Trustee.


      9                          We don't think that the interest of

     10    equity should be considered because we believe that

     11    they have no stake left in these cases since the

     12    cases are administratively insolvent and I would

     13    submit to you, your Honor, that it's in the

     14    McCorville Publishing case and that's a Southern

     15    District case,         where there are interests and the

     16    principles occupy conflicting positions in the

     17    transferee positions, a trustee should be appointed

     18    in order to investigate the financial affairs of

     19    the company and it certainly will warrant cause,

     20    which we also talk about in our case,                that on the

     21    basis of a       failure        for   the avoidance of a   transfer

     22    to the tread,        and the S.L.S. Good case talks about

     23    a specific, very wig good the action is all

     24    unsecured had can hope to realize.                 Which is really

     25    the   s i t u a t i o n here.




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      1                Magnesium Corporation of America
      2                        In all candor, there is nothing for

      3    the unsecured unless and until there is an

      4   appointment of some kind of recovery in avoidance
      5   and other causes of action, and we understand the

      6    committee began an investigation on the claims and
      7    causes of action.        It was preliminary, and they

      8    were focused on officially trying to bring a non

      9    affiliated buyer to the table which would

     10    ultimately bring funds to the creditor; and there

     11    was a sale to U.S. Mag in June, which closed the

     12    end of June, and the case has been fairly

     13    relatively quiet since then.

     14                        And now i t ' s eighteen months after

     15    the filing, your Honor, and we would say that there

     16    needs to be,     in the best interest of the creditors,

     17    under 1104(a)(2),       that a   trustee needs to be

     18    appointed to complete the investigation that the

     19    committee began and determine once and for all

     20    whether there are viable claims here to prosecute

     21    those claims and see where that goes.

     22                        THE COURT:     Okay, Mr. Top,        if you

     23    have anything substantive to add to what Ms. Grubin
     24    has   said.

     25                        MR. TOP:     Thank you, your Honor.           I



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      1                Magnesium Corporation of America
      2    just want, again, to support Ms. Grubin's efforts
      3    and the efforts of the Ad Hoc Committee and just

      4    reiterate what she said.          You know,    when we came on

      5    board, frankly, after the bankruptcy was filed in
      6    late November, early December, we were kind of
      7    thrown into a position where the primary bulk of
      8    our time and efforts were spent on trying to find
      9    different alternatives to deliver value for

     10    unsecured creditors.         Unfortunately, that did not

     11    bear any fruit.

     12                        We did take a preliminary look at a

     13    number of avoidance actions, and obviously we have

     14    been able to give our financial advisers

     15    information about detailed insurance transfers that

     16    were made, and frankly,          under state law type of

     17    avoidance action, we wouldn't have any presumption

     18    of solvency or anything of that nature.

     19                        So while we have provided the Ad Hoc

     20    Committee with a       l i s t of certain transfers that

     21    were made that,       frankly,    I think even the debtors

     22    would admit to having occurred, there needs to be

     23    some investigation as to whether other elements of

     24    various state law type avoidance actions and the

     25    statutes request can be met, particularly as it


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      1                Magnesium Corporation of America
      2    relates to the solvency and the like.
      3                        And, you know, unfortunately the
      4    debtor for this case asserts it would be very hard

      5    for the committee to engage a professional to
      6    undertake a lot of the investigation that would

      7    need to take place before we would feel comfortable
      8    filing a complaint ourselves, and that the
      9    resolution has been to try to find someone to do a

     10    lot of this work on a contingency basis, and the

     11    committee is supportive of allowing that to take
     12    place.

     13                        THE COURT:       Okay,   thank you.        Ms.

     14    Wallace, do you want to add anything?

     15                        MS.   WALLACE:     Your Honor,       no,   I   have

     16    nothing to add to what's been stated by the

     17    previous two counsel.

     18                        THE COURT:       Okay.    Before Mr.

     19    Smolinsky gets to speak, I want to give Ms. Davis a

     20    chance to give me her views and I want to give Mr.

     21    Chang another opportunity to speak if he wants to.

     22                        MS. DAVIS:        Your Honor, while your

     23    Honor has an order in which you want to hear from

     24    the parties, I would very much appreciate hearing

     25    from debtor's counsel before I have an opportunity



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      1                Magnesium Corporation of America
      2    to express my view.         I think my comments will be a
      3    little more contributory if I hear from him first.
      4                        THE COURT:     That's agreeable to me.

      5    Fair enough.      Mr. Chang, I don't know if you want
      6    to speak now or not.

      7                        MR. CHANG:       Very briefly, your

      8    Honor.


      9                        THE COURT:     Sure.

     10                        MR. CHANG:       I   simply wanted to

     11    address one of the issues raised by the court,

     12    which, unfortunately, I didn't pick up in the

     13    papers.     But the issue -- I'm not as prepared as I

     14    might be, but the issue is if the appointment of an

     15    trustee might ramble up on the litigations.

     16                        THE COURT:     Well, maybe that's

     17    another way of saying it.          You have a plenary

     18    litigation, your EMA client has plenary litigation

     19    pending out in Utah which I will not be the

     20    decision-maker on.         But if your client is

     21    successful, you are going to have a whopping admin

     22    claim, as I     think you stated in your letter.

     23                        Now,   in some sense you've got a

     24    different perspective, and a kind of conflict with

     25    the other creditors, because if you are successful,



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      1                Magnesium Corporation of America

      2    you are going to take money out of the bondholders
      3    pockets, which may be what federal law says is the
      4    appropriate result, and I take no view on that.
      5                        But if I'm going to look at

      6    everybody's interest, other than the EPA's,
      7    obviously they have an interest in your client
      8    being unsuccessful, so that whatever scarce

      9    resources, or maybe not so scarce resources, go to

     10    their pockets, rather than the Federal Government's

     11    pockets, which is not an uncommon situation, but I
     12    would like to get your views.            But I've also got to

     13    tell you that I look at it in that context.

     14                        MR.   CHANG:    I understand,        your

     15    Honor.     I wasn't actually intending -- I think the

     16    Government's position on the trustee is, as we

     17    stated, we are taking no position.               The only reason

     18    I came to speak is because I thought I understood

     19    the court to have a concern that putting a trustee

     20    in position at this point, because of the ongoing

     21    EPA litigation, might cause difficulties,

     22    because    --

     23                        THE COURT:      Well,    that's the

     24    debtor's contention,        that's right.

     25                        MR.   CHANG:    And t h a t ' s   the reason




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      1                Magnesium Corporation of America
      2    I'm coming up to speak.         To my knowledge, the EPA
      3    litigation is not being handled directly by
      4   Chadbourne and Parke.          It's being handled by the
      5    law firm of Parsons and Bailey, and 1 don't know

      6    anything about the litigation.            1 don't know
      7    anything about PacificCorp, but it seems to me the
      8    appointment of the trustee wouldn't necessarily
      9    require if trustee to come up on -- all the way up
     10    to speed on the EPA action if it's simply
     11    transferring it over to Parsons and Bailey.                It
     12    wouldn't cause that much destruction,             unless Mr.

     13    Smolinsky can tell me what role Chadbourne & Parke
     14    played in the litigation.
     15                        THE COURT;     Thank you,     that's

     16    helpful.

     17                        MR.   CHANG:   Thank you.

     18                        THE COURT:     Okay, Mr. Smolinsky.

     19                        MR.   SMOLINSKY:     Thank you, your

     20    Honor.     Before 1 give my comments on the motion,
     21    I'd like to provide your Honor with a very brief
     22    status of the case.         We have been undertaking to

     23    wind down the affairs until we received this

     24    motion.     Obviously, we did not foresee an intensive
     25    litigation proceeding.          So in that light, we have


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      1                Magnesium Corporation of America

      2    filed for an administrative bar date.              I believe
      3    the administrative bar date is actually today.
      4    And/ obviously, we were intending on reviewing
      5    those claims and identifying how we would proceed
      6    toward disbursing other remaining funds in the
      7    estate.


      8                        THE COURT:      Mr. Smolinsky, what kind

      9    of admin claims did we have, other than those in

     10    the way of the 300,000 bucks or the stated 300,000
     11    bucks owing to your firm from whatever the EPA can

     12    recover?


     13                        MR.   SMOLINSKY:     We have other

     14    professional claims.         If your Honor would recall,
     15    we had agreed at the hearing back in, I'll say,

     16    November, with respect to the professionals

     17    receiving 70 percent of their fees, to allow a bar

     18    date to be filed so we could assess what the other

     19    claims are.       So all of the professionals, I

     20    believe, have claims outstanding.

     21                        THE COURT:      Not just your firm?

     22                        MR.   SMOLINSKY:     Correct.

     23                         Chapman & Cutler, Peter Solomon on

     24    behalf of the committee as financial advisers.                    I

     25    think, besides my firm. Chapman & Cutler and Peter



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      1                Magnesium Corporation of America
      2    Solomon have the largest claims.

      3                        THE COURT:      What kind of order of

      4    magnitude are we talking about here?
      5                        MR. SMOLINSKY:          I don't have that

      6    information with me.         Perhaps Mr. Top would have

      7    that figure.

      8                        THE COURT:      Okay,       I   don't want you

      9    to interrupt yourself, but, Mr. Top, make a note to

     10    see if you can fill that in when it's your turn.
     11                        MR. TOP:       Say that again, your

     12    Honor, how much we are outstanding?

     13                        THE   COURT:     Yes.

     14                        MR.   TOP:     Less than 100,000 dollars,

     15    I   believe i t ' s like between 50 and 75,000 dollars.

     16                        MR.   SMOLINSKY:        I   think the Peter J.

     17    Solomon piece was larger than the Chapman & Cutler.

     18    I don't recall if it was 150 or slightly more than

     19    that.

     20                        THE COURT:       Okay,      thank you.

     21                        Go on, Mr. Smolinsky.

     22                        MR.   SMOLINSKY:        In addition,      there

     23    are reclamation claims           in over the course of the

     24    last couple of months, we have been in conversation

     25    with the reclamation creditors over the amount of




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      1                Magnesium Corporation of America
      2    their claims.       I actually have one or two

      3    stipulations that I've been pressured over the last
      4    couple of weeks to file, but I've chosen not to
      5    because of this motion.          I   didn't want to be

      6    accused of having done something that a Chapter 7
      7    trustee would want to take a           second look at.

      8                        I've also been handling the

      9    litigation      -- in addition to the EPA litigation,
     10    there is the BLM litigation, the Bureau of Land

     11    Management federal litigation pending in Utah and
     12    Chadbourne and Parke had been consulting on that

     13    also.

     14                        THE COURT:       That's the second of two

     15    types of lawsuits that Mr. Chang addressed in this

     16    lawsuit, allegedly the stealing of minerals.

     17                        MR.   SMOLINSKY:     That's correct,      your

     18    Honor, and Chadbourne has been engaged in that

     19    litigation --

     20                        THE COURT:       Wait.   Say that again

     21    slower.     Your firm has been --

     22                        MR.   SMOLINSKY:     We have been

     23    involved in that litigation on behalf of the

     24    debtors.      I have a stipulation on my disk which I

     25    was about to sign which would allow the court in



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      1                Magnesium Corporation of America
      2    Utah to rule on the motion for the stay relief.                   We

      3    had initially opposed the judge in Utah in making a
      4    determination as to whether the stay applied to the

      5    BLM action at a hearing that I attended out in

      6    Utah.     The judge was clear that she wanted to
      7    exercise her jurisdiction, which she does have

      8    juridiction, which coincides with your Honor's.

      9                        And at that point we decided to

     10    allow the District Court to rule on the pending

     11    motions.      It's a   motion -- the case was dismissed

     12    and there's a motion pending by the government to

     13    reopen that case.         And there is one or two other

     14    motions that the judge was prepared to rule on.

     15                        THE COURT:      Now,    if that matter were

     16    handled on the merits,         I thought I heard you saying

     17    you settle with stay type issues.              Is that

     18    something that Chadbourne would be doing, or the

     19    law firm that Mr. Chang identified would be doing?

     20                        MR.   SMOLINSKY:       There was a   law firm

     21    that was representing Mag Corp prior to the

     22    petitioner date in that litigation.              When the

     23    filing happened,       I reviewed the lawsuit and I

     24    thought that it was fairly clear that the stay

     25    applied with respect to that action.              In that



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      1                Magnesium Corporation of America
      2   regard, I thought that it would be an unnecessary
      3    expenditure of the estate assets to retain trial
      4    counsel with respect to that action, even though
      5    that counsel is probably the best suited to
      6    represent the estate if the litigation goes forward
      7    because the case      --

      8                        THE COURT:     That's Utah,     the law

      9    firm in Utah?

     10                        MR.    SMOLINSKY:   That's correct.

     11    Because the case was dismissed, we thought we would

     12    deal with it purely in a bankruptcy position until
     13    such time the court in Utah decided to go forward

     14    in the evidence hearing.

     15                        THE COURT:     You saw,    as long the

     16    stay remained, you saw no need for any further

     17    education, or if does, to get further education on

     18    the   issues?

     19                        MR.    SMOLINSKY:    That's correct,      your

     20    Honor, our involvement has been somewhat minimal.

     21                        THE COURT:     All right,     continue.

     22                        MR.    SMOLINSKY:    We have also been

     23    working on the PacificCorp matter, and we have been

     24    involved in analyzing the rate deference, although

     25    we have regulatory counsel out in Utah that we've



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      2^               Magnesium Corporation of America

      2    been working with.        That is the status of the case,
      3    until this motion was filed.

      4                        When the motion was filed, we

      5    immediately recognized that we had no desire to
      6    stop an investigation that any participant wanted
      7    to conduct.      I think that's been our position

      8    throughout the case.         I don't want to speak as to
      9    the merits of the avoidance actions.              I    do want to

     10    make one or two comments so that i t does not appear

     11    that the debtors or the Creditors Committee in any

     12    way shook their responsibilities with respect to

     13    investigating a cause of action that could be worth
     14    tens of millions of dollars.

     15                        The Creditors Committee did,           as Mr.

     16    Top stated, conduct a preliminary investigation.                    I
     17    think the -- I didn't go back to check, but I noted

     18    in the reply papers of the movants, I think they

     19    said that they spent only 87 hours of legal time in
     20    analyzing the avoidance of legal actions.

     21                        I   think Mrs.   Grubin also mentioned

     22    their contingency counsel has spent somewhat less

     23    time than that, and concluded there are viable

     24    causes of action.         In addition, Willkie Farr &

     25    Gallagher conducted an investigation which the


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      1                Magnesium Corporation of America
      2    debtors paid for prior to the bankruptcy case.                    I
      3    don't have the time records, so I can't speak as to
      4    how much Peter J. Solomon investigated the case,

      5    and their fees were substantial, although I'm not

      6    privy to the level of investigation they did.
      7                        But coming out of these

      8    investigations was the understanding that in 1996,
      9    when these dividends were made,           they were made as

     10    disclosed in the prospectus which was disclosed for
     11    the issuance of the bonds to the bondholders.                 And

     12    we presume that they made their own investigation
     13    as to the solvency of the company at that time

     14    after giving the effect of the dividends, and we

     15    believe there is a defense on the part of Renco on

     16    solvency throughout this period of time, and I

     17    think we also understand that in the metal industry

     18    there was a significant drop in prices that led to

     19    the bankruptcies of many companies in this industry

     20    in the late '90s and early 2000s.

     21                        That's all I ' l l say on the

     22    substance, I just wanted to put that on the record,

     23    because of the inference that we have somehow sat

     24    on our hands or the committee has somehow sat on

     25    their hands with this cause of action.




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      1                 Magnesium Corporation of America
      2                         With that said, we have in no way to

      3    try to stop an investigation.             As a matter of fact,
      4    I think Mrs. Grubin has indicated that we have been

      5    in discussions with them, and I            think the

      6    purchaser, with respect to the these issues, I had
      7    disbursed a commission to the Ad Hoc Committee,

      8    seeking to provide them with as much comfort as I
       9   could, that any investigation that would be
     10    conducted by the Ad Hoc Committee would give them
     11    comfort that they would not be giving up anything
     12    of    substance.

     13                          I spoke to the Renco Group and

     14    received their assurances that they would not raise

     15    Cybergenics as a defense to any cause of action,
     16    for instance.        With respect to the 108 issues,               I

     17    have not had the conversation directly with Renco

     18    as to whether they would agree to the extent it's

     19    necessary, to agree to toll a period that the

     20    Chapter 7 trustee would have and an Ad Hoc

     21    Committee would not.

     22                          I   don't know if there would be any

     23    difference in the statute of limitations,                 whether

     24        it's a Court issue or whether it's a private issue.

     25    We discussed the issue in substance Wednesday



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      1                Magnesium Corporation of America
      2   night, I believe at midnight, and I was at trial
      3    all day yesterday, so I have not had a chance to
      4    follow-up on that.

      5                        I would know that the Ad Hoc

      6    Committee intends to use contingency counsel to

      7    bring this action.        I'm not quite sure I understand
      8    why the committee can't retain the same committee
      9    in the contingency action to conduct the
     10    investigation and bring the action.
     11                        Nevertheless, the stipulation I

     12    provided would provide the Ad Hoc Committee of
     13    bondholders would give the rights to pursue those

     14    actions on behalf of the United States.

     15                        The only thing I wanted to -- I

     16    wanted to add on a couple other things.                  With

     17    respect to the administrative expenses, I guess I

     18    have a personal interest, I guess, the Creditors
     19    Committee feels conflicted not to raise their --

     20    weather they represent a group of creditors who are

     21    entitled to an investigation, but I can say that we

     22    have been proceeding down the path of anticipating
     23    that the monies in the estate would be available

     24    for distribution to administrative creditors.

     25                        I   think the Creditors Committee,              at



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                       Magnesium Corporation of America
      2    least the counsel, had made a determination that
      3    they did not want to expend the remaining amounts
      4    and gamble them on legal fees in connection with
      5    the lawsuits on actions against affiliates.                But we

      6    clearly were in the same big position.              We don't
      7    want to stop the investigation, but we don't think
      8    that we necessarily should finance it.
      9                        Contingency counsel, if it's fully

     10    contingent, doesn't need the money that's at this
     11    time sitting in the estate.           We would ask if the
     12    court is inclined to convert the case,             that at

     13    least we are able to receive as much as we can from

     14    the remaining assets of the estate in order to pay

     15    outstanding and allowed fees.

     16                        In terms of the estate being

     17    administratively insolvent, I would hope the test

     18    is clear and show that the company is

     19    administratively insolvent, but think, Mrs. Grubin,
     20    if the case is successful,          the estate won't be

     21    insolvent, and that's a reason for keeping the

     22    Chapter 11 open.

     23                        The added expense of doing a

     24    liquidating plan versus conversion I don't think

     25    necessarily goes in favor of a Chapter 7 trustee,



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      2^               Magnesium Corporation of America

      2    because ultimately, while you don't have to
      3    negotiate a plan with the government, you still
      4    have to reconcile claims.          And we would argue that

      5    the debtors are in the best position to reconcile
      6    those claims to make sure, if there is money,                to

      7    distribute it pro rata in the proper creditor
      8    claims.

      9                        THE COURT:     At that last point you

     10    are not talking about Chadbourne, you are talking
     11    about your client?

     12                        MR.   SMOLINSKY:    Yes,   the officers

     13    are still working.

     14                        THE COURT:     You s t i l l have a

     15    skeleton crew?

     16                        MR.   SMOLINSKY:     We have no

     17    employees.      We are compensating Michael Legge, the
     18    CEO of the company; Todd Haggard, the CFO; and Lee

     19    Brown, who is the head of the administration, who

     20    have been assisting me in the winddown affairs, and

     21    presumably, if this case continues would continue
     22    to assist Chadbourne & Parke in helping with the

     23    affairs in doing whatever is necessary.

     24                        THE COURT:      To what extent would

     25    they be available or unavailable if we went either


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      1                Magnesium Corporation of America

      2    with an 11 trustee or a 7 trustee?

      3                        MR. SMOLINSKY:       I've not had that

      4    conversation with them.          Obviously, it would be

      5    within their rights to resign from those officer
      6    positions.
      7                        THE COURT:      Except I think there's a

      8    duty in Chapter 7 to cooperate with the Chapter 7
      9    trustee.


     10                        MR.   SMOLINSKY:     I   would have no

     11    doubt that they would cooperate with a Chapter 7

     12    trustee the best they can.

     13                        THE COURT:      Okay, keep going.

     14                        MR.   SMOLINSKY:     Your Honor noted the

     15    STN issue, and I was advised that I had not offered

     16    up that as a conclusion, and I think the record is
     17    clear that I had; and I do think it's appropriate.

     18                        The 108 point, I'd like to think

     19    more about that in terms of how we get someone

     20    comfortable in an investigation that they would not

     21    lose any rights that a Chapter 7 trustee would

     22    have.     Certainly, it's not the intent of the

     23    debtors to have anyone waive any rights that the

     24    Chapter 7 trustee would have; and I would endeavor

     25    to provide that, and if I were to provide that,


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      1                Magnesium Corporation of America
      2    then perhaps your Honor would move toward Chapter 7
      3    in order to resolve that issue.

      4                        In terms of the funding that we had

      5    raised in our papers, the debtor certainly didn't
      6    intend to be heavy-handed.           We simply noted in the
      7    draft papers that we were intending to file, that
      8    the funding terminated upon the appointment of a
      9    Chapter 11 trustee or Chapter 7 trustee, which
     10    every loan document that I've seen contains that
     11    proviso.

     12                        And what we tried to accomplish is a

     13    funding mechanism where U.S. Mag has an economic
     14    interest in certain of the litigations and they

     15    would fund the estate, which would also allow us to

     16    conduct a winddown that would essentially reduce

     17    the administrative expenses that currently exist

     18    against the estate by dealing with the fees that
     19    have been incurred since the sale when U.S. Mag

     20    took over operations of the business, which would
     21    certainly reduce my fees.           So it's somewhat

     22    self-serving, but it would also reduce the

     23    administrative expense claims that have been

     24    asserted against the remaining funds in the estate,

     25    which would be better for all other administrative



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          1                Magnesium Corporation of America

          2    creditors.

          3                        It would also allow us to keep open

          4    the bankruptcy case without cost for the
          5    administration of the estate while the

          6    investigation proceeds.          I can't say that the
          7    funding will last forever, but to the extent -- I

          8    would anticipate that the investigation would be
          9    conducted by the Ad Hoc Committee or Creditors
         10    Committee in short order, and at that time we would

         11    know whether the grounds still exist for

         12    commencement of an action.           And i f i t does,    then

         13    that action would be commenced.

         14                        We also provided in our stipulation,

         15    our STN stipulation I ' l l call it, to the extent the

         16    parties believe at any time in the future that they

         17    are not getting under the stipulation what a

         18    conversion to Chapter 7 or what a Chapter 11

         19    trustee would have, that they would have the right

         20    to renew t h e i r motion.

         21                        MS.   GRUBIN:    Your Honor,     I   would

         22    think that these are settlement negotiations that

         23    fall   within 408.

         24                        THE COURT:      Sustained.

^        25                        MR. SMOLINSKY:       I apologize, your


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      1                Magnesium Corporation of America
      2    Honor, I didn't intend to get into the settlement
      3    discussions.       I would state on the record that the

      4    debtors, in connection with any order that your

      5    Honor entered with respect to an alternative, other
      6    than conversion or the appointing of a Chapter 11

      7    trustee, that we would certainly understand that

      8    that order reserved the rights without prejudice to

      9    a party coming in and seeking to reassert the
     10    motion at any time.

     11                        I apologize for getting into the

     12    settlement; was simply talking about the debtor's

     13    position with respect to make a wind down conducted

     14    and finalized.

     15                        I   think t h a t ' s a l l   I   have on the

     16    issues, your Honor.          If your Honor is inclined to

     17    convert the case because your Honor believes that

     18    we cannot afford proper investigation without a

     19    Chapter 7, I would ask for the opportunity to

     20    withdraw the debtor's objection as opposed to

     21    having it overruled.           But I would like to hear your

     22    Honor's thoughts on our positions here today.

     23                        THE COURT:        All right.         Ms. Davis, I

     24    think the spirit of what you requested a minute ago

     25    would be best served by giving Ms. Grubin a chance



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      1                Magnesium Corporation of America
      2    to reply and then speak, unless you would like to
      3    waive that.

      4                        MS. DAVIS:       That's fine, your

      5    Honor.     I would just ask in speaking, I'm a little
      6    ignorant to the facts here because this is a case
      7    that's one of my colleagues, Brian Masumoto, if we
      8    could have means with the respect to the fraudulent

      9    conveyance, I needed to know that number and if it
     10    can be representation to the aggregate

     11    administration expenses that are required.

     12                        THE COURT:      Good,   that's a good

     13    reason for you to defer for your comments till you
     14    get that information.

     15                        THE COURT:      Ms.   Grubin,   some of that

     16    may be in your lap and some of that may be in Mr.
     17    Smolinsky's lap.

     18                        MS.   GRUBIN:    That's correct,      your

     19    Honor.     First, while it's still fresh in our minds,

     20    we believe that there may be up to and in excess of

     21    90 million dollars        --

     22                        THE   COURT:    90?

     23                        MS. GRUBIN:      90, yes.       And in our

     24    motion, and if I might direct Ms. Davis' attention

     25    to -- bear with me, please.



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/-S"
             1                 Magnesium Corporation of America
             2                         THE COURT:      The prospectus.

             3                         MS. GRUBIN:      The prospectus.

             4                         THE COURT:      I must say I missed it,

             5    just like Ms. Davis did.
             6                         MS. GRUBIN:      I would actually direct

             7    Ms. Davis' attention to footnote lA point 4 of our

             8    motion, which speaks about $8.5 million of the net
             9    proceeds from the note issuance used to redeem
            10    preferred stock from the group and, additionally,
            11    46.2 million of the proceeds plus cash of 34.8

            12    million was distributed as a dividend group and to

            13    compensate certain Mag Corp executives so right

            14    there you have 89 million.            And also, your Honor, I

            15    would suggest that, and it speaks about that in

            16    footnote 2, page 5, it talks about there may indeed
            17    be    --

            18                         THE COURT:      Avoid management fees?

            19                         MS. GRUBIN:      Correct, your Honor, of

            20    100,000 dollars a month,          and that dated back a

            21    number of months before the August '01 filing of

            22    the petition.        And then we also understand --

            23                         THE COURT:      The multiplier could be

            24    significant.        How many months are we talking about?

            25                         MS.   GRUBIN:    Your Honor,     I   couldn't



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      1                Magnesium Corporation of America
      2    answer the court at this point.             I don't think it's
      3    more than 12 prepetition, but --

      4                        THE COURT:     What?

      5                        MS. GRUBIN:       --we could submit

      6    that subsequent to today.

      7                        THE COURT:     But if it is 12, and I

      8    recognize that you carefully did make
      9    representations where you didn't know, we may be
     10    talking about 12 times 100,000.

     11                        MS. GRUBIN:      That's correct, your

     12    Honor.


     13                        THE COURT:      Okay.

     14                        MS. GRUBIN:      And then,    finally,

     15    there are also -- there is a potential cause of

     16    action for breach of fiduciary duty, and I confess

     17    not to be a bankruptcy tax expert, your Honor, but

     18    there may be some valid causes of value to tax

     19    benefits to related entities due to financial

     20    losses sustained by the debtors, because the

     21    debtors, as I understand it, reported on a

     22    consolidated basis.         And the motion does speak to

     23    that sort of -- doesn't really elaborate on it too

     24    much, but that is a possible related cause of

     25    action that I couldn't put a number on at this



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      1                Magnesium Corporation of America

      2    point in time.
      3                        THE COURT:      Okay.

      4                        MS. GRUBIN:      And I   think that Mr.

      5    Smolinsky is more versed -- well versed in the case
      6    to, perhaps, speak to the admin expenses.                But I
      7    would just like to point out of these fees that are
      8    unpaid in this case, my understanding is that the
      9    fee orders in this case, other than with respect to

     10    Willkie Farr & Gallagher, have all been interim fee

     11    orders so that there have been no final allowable

     12    final    fee amounts    in this case.

     13                        I just want to make sure everyone is

     14    aware of that.        Your Honor, I really will just

     15    reiterate what we said in our motion and reply, but

     16    I would like to respond to a few points that were

     17    raised,

     18                         I would point out that counsel has

     19    made itself available on a contingency basis to a

     20    trustee and had spent about 60 to 80 hours

     21    reviewing various documents in the file of the

     22    bankruptcy to determine that there were indeed

     23    valid -- in their opinion, valid and viable causes

     24    of action.

     25                         I think Mr. Smolinsky mentioned a



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      1                Magnesium Corporation of America

      2   number -- a smaller number than that; and that is
      3    in comparison to what they understood Chapman and
      4    Cutler's time of about 82 hours.              I would also note

      5    that this identifies an available contingency

      6    counsel will not be available unless there is a

      7    trustee appointed in this case.             And that is --
      8                        THE COURT:      I   saw that,   although

      9    only in the letter, and presumably that's because
     10    he wants the benefit of whatever 108 arguments he

     11    can make.

     12                        MS.   GRUBIN:       That's correct,    and he

     13    wants to make sure there is no underbrush of

     14    uncertainty and his firm can move forward with the

     15    substantive portions of the lawsuit.                And that to

     16    us is fairly significant, because that is why we

     17    need a trustee in our opinion here, and that's why

     18    we're asking for a trustee, because while there may

     19    indeed be other counsel out there, and I understand

     20    my clients did speak to a number of other firms,
     21    there may be some time delay and perhaps even

     22    availability concerns of other contingency counsel.

     23    I would also point out that the Peter J. Solomon

     24    firm that i t was -- excuse me,            the FS to the

     25    committee, my understanding, and I think Mr. Top



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      1                Magnesium Corporation of America
      2    can affirm this, is that they did spend a great
      3    deal of time trying to bring a buyer to the table,
      4    but they did not undertake any solvency or
      5    insolvency analysis or any of the other kinds of
      6    detailed analysis that would be necessary to

      7    preclude a cause of action, particularly fraudulent
      8    conveyance causes of action.
      9                        Your Honor,     I would also say that

     10    there will be -- there does not seem to be funds in

     11    the estate to fund the committee's prosecution of

     12    these causes of action for them to have completed

     13    their investigation, and it seems to me where there
     14    is identified contingency counsel who is available

     15    to investigate and prosecute and pick up the tab on
     16    these expenses, that that is something that the
     17    court should consider in reviewing whether or not

     18    to grant our motion.

     19                         I would point out that whether one

     20    is hopelessly or unhopelessly administratively
     21    insolvent, one is invariably insolvent, and I would

     22    also hope that the three employees would be out in
     23    Utah, as your Honor suggested, to assist the U.S.

     24    trustee to reconcile claims administration or

     25    various litigations in this case.



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      1                Magnesium Corporation of America
      2                        One other thing I'd like to point
      3    out to the court, is that we would ask that the
      4    court rule as swiftly as possible on our motion
      5    because we are looking at, as I said before, the
      6    546(a) which is two years, and runs out this
      7    August.

      8                        That's all 1 have,        your Honor,

      9    unless the court has questions.

     10                        THE COURT:       No,   1 don't.

     11                        MS. GRUBIN:       Thank you,      your Honor.

     12                        THE COURT:       All right, Mr. Top, Ms.

     13    Wallace, anything to add, to that?

     14                        MS.   WALLACE:     No,   your Honor.

     15                        MR. TOP:     Your Honor,     1 guess just

     16    to relate to what Ms. Grubin said relating to Peter

     17    J. Solomon; obviously they conducted financial

     18    reviews during the relevant period of time during

     19    the bankruptcy and issues of how much financing was
     20    needed and what are the assets and liabilities are

     21    for purposes of providing that information to the
     22    committee as well as making that information

     23    available to various buyers.               I'm not aware of any

     24    analysis they completed to prior periods, except to

     25    the extent they looked at whatever had been



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      1                Magnesium Corporation of America
      2    available to Renco and Mag Corp during the prior
      3    periods.

      4                        I will say, although, that they did
      5    spend some time reviewing transfers and the like,
      6    and I think we had, and we provided to the Ad Hoc
      7    group, what we thought were transfers, but to the
      8    best of my knowledge, your Honor, that's pretty

      9    much the extent of their solvency type analysis

     10    with respect to the debtors.

     11                        THE COURT:      Thank you, Mr. Top.

     12                        Mr. Seidel, would you like to be

     13    heard?

     14                        MR. SEIDEL:      Yes, your Honor,       just

     15    briefly.      Barry Seidel from Cadwalader, Wickersham

     16    & Taft.      Your Honor,    I   rise today only to comment

     17    with respect to the discretionary nature of the

     18    funding referred to in the debtor's papers.

     19                        Just so i t ' s clear,    i t was partially

     20    discretionary and partially committed.               It was a

     21    500,000 dollar facility that we had offered.                 The

     22    initial 250,000 dollars of that was to be spent, it

     23    was committed.        The balance, as of the time we

     24    negotiated that, we didn't know what was down the

     25    road in this Chapter 11 case.            We didn't said we


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      1                Magnesium Corporation of America
      2    wanted approval so we wouldn't have to incur the
      3    expense twice and the Renco group would be                -- the
      4    agreement was subject to getting a Court order and
      5    documents in the transaction,          but that was

      6    concerning discussions we had with Mr. Smolinsky
      7    six,   seven months ago.

      8                        THE COURT:      Long before you had a

      9    motivation to bribe me.

     10                        MR.   SEIDEL:    Your Honor,    i t had

     11    nothing to do with influencing the outcome here.

     12    Mr. Smolinsky has addressed the draft stipulation.

     13    I cannot tell your Honor why it wasn't filed all

     14    these months, but i t hadn't been, and the reason i t

     15    was negotiated at all was because of Mr.

     16    Smolinsky's concern that the estate would end up

     17    administratively insolvent.

     18                        This was a financing vehicle to

     19    allow the estate to continue and wind up and this

     20    was not necessarily a situation where we would

     21    substitute the Renco Group as the unpaid advocate,

     22    because there were recognitions in there that would

     23    allow for the payment of indebtedness only from

     24    assets recovered,         so we are not going to burden the

     25    estate.




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      1                Magnesium Corporation of America
      2                       THE COURT:       You are not becoming a
      3   new DIP lender, that would be taken care of?
      4                       MR.    SEIDEL:     That's correct, your

      5   Honor.


      6                        THE COURT:      Could you, please,        I

      7    thought debtor's counsel was going to address that
      8    issue.

      9                        MR. SEIDEL:      Of course,    I   just

     10   wanted to make sure people who wanted to be heard

     11    would have an opportunity.

     12                        THE COURT:      Mr. Smolinsky, do you

     13    want   to be heard?

     14                        MS.   DAVIS:    Your Honor,    can I      ask

     15    whether it was in the original DIP order there was

     16    a carveout for the Chapter 7 Trustees?

     17                        THE COURT:      There was a    DIP order

     18    and the department was paid off.             It is usually my

     19    practice to require a carveout, but I don't

     20    remember whether I was doing that when this case

     21    was filed, Mr. Smolinsky, you can address that.

     22                        MR.   SMOLINSKY:     In this   issue I

     23    think there was a 50,000 dollar carveout, it might

     24    have been 100,000 for a Chapter 7 trustee, but as

     25    your Honor noted, as part of the sale, the DIP



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      1                Magnesium Corporation of America
      2    financing was satisfied.          I don't know what the
      3    status of that carveout is.

      4                        THE COURT:     Okay.    Go ahead with

      5    your other points.

      6                        MR. SMOLINSKY:       I was only going to

      7    comment on the question raised by the U.S. Trustee

      8    regarding the management fees, and it's really
      9    testing my memory, but I believe the management
     10    fees ceased at some time substantially prior to the

     11    filing.     The company did not have the cash

     12    available to pay those fees.            I don't remember

     13    whether i t was nine months before the filing or

     14    sometime before or after that,           but i t ' s not the

     15    full 12 months within the,          I guess, the preference

     16    period, if that's what you are looking at, before
     17    the year of the filing.

     18                        THE COURT:      Well,   I'm not going to

     19    lawyer for the bondholders, but from time to time

     20    creditors have asserted that management fees of

     21    these characters are fraudulent conveyances and not

     22    just preferences.

     23                        MR.   SMOLINSKY:     Correct.        On the

     24    issue of administrative expenses, I was trying to

     25    get from Bankruptcy Services, Inc., who is our



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      1                Magnesium Corporation of America

      2   claims agent, a schedule, a register of the admin
      3   claims.      I didn't get it prior to leaving for Court
      4    this morning.       So I can't report to you today on
      5   what the claims register looked like.
      6                        I'm not aware of any claims, other

      7    than the ones that I've talked about here today.

      8   And if your Honor is inclined to put this over to
      9    see whether the financing makes sense at some

     10    future date, I could be prepared to give your Honor

     11    a full report on the status of that.

     12                        In terms of the issue of whether

     13    this issue needs to be decided today,             I would only

     14    note,   I believe that under 546, a one year period

     15    would start upon the agreement of a Chapter 7

     16    trustee,    whether i t ' s converted today or tomorrow.

     17    As long as the conversion happens before August,

     18    there would be a one-year period, I don't think

     19    there's a tag on for the five months between now

     20    and August, and then you would add a year to that.

     21                        So I think as long as the this Court

     22    orders conversion before August, I think the result

     23    is the same,     the trustee would have a one-year

     24    period.

     25                        I   would also note that      I   don't know




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      1                  Magnesium Corporation of America
      2    whether a Chapter 11 operating trustee makes sense
      3    here.        I think if we're going to change the nature

      4    of this case, I would think that for administrative

      5    costs, I think a Chapter 7 trustee would avoid the
      6    cost of an ongoing committee and receive money on
      7    quarterly fees and avoid the expense of preparing
      8    operating reports and the like, I would just note
       9   that       for the record.

     10                           THE COURT:    What I   think,     and this

     11    is for the benefit of all,           that when I    talked about

     12    an issue as to the applicability of 108 in terms of

     13    situations of this type,            I was really thinking

     14    about what you just said, Mr. Smolinsky, which is

     15    546 (a) (1) .

     16                           In the fact of whether a        debtor in

     17    possession is deemed for some purposes to be a

     18    trustee,       whether that would be the first trustee

     19    appointed, and that's the conflict in the cases

     20    that I was referring to at the time I looked at it,

     21    I'm not expressing a view on the issue.                  But that

     22    was    a   matter of    concern to me.

     23                           MR.   SMOLINSKY:   And I   think t h a t ' s

     24    resolvable within the confines of an STN type

     25    order.




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      1                 Magnesium Corporation of America
      2                         THE COURT:     All right anything else,
      3    anybody, before Ms. Davis?            Okay Ms. Davis.
      4                         MS. DAVIS:       Yes, good morning, your

      5    Honor.      Tracy Hope Davis, for Carolyn Schwartz, the
      6    U.S. trustee.        I actually had an opportunity to

      7    review a memo my colleague, Brian Masumoto,

      8    prepared in connection with this hearing.                 I'm
      9    going to share some of his comments and a few of my
     10    own, based upon what the parties said today.
     11                         Mr. Masumoto had advised me that i t

     12    was the U.S. Trustee's pictures that we didn't have

     13    an objection to the appointment of a Chapter 7

     14    trustee.


     15                         MR. TOP:     This is brought to the --

     16        I'm having a hard time hearing.

     17                         MS. DAVIS:       I   have a   follow up.      As

     18    I said, I conferred with my colleague, Brian

     19    Masumoto, who is the attorney assigned to this case

     20    who understood and voiced to me that               the U.S.

     21    trustee had no objection to the conversion of this

     22    case.


     23                         Our concern was that there might be

     24    duplication with respect to the work that had

     25    already been done by the lawyers who had commenced,



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      1                Magnesium Corporation of America

      2    I guess, the investigation with respect to whether
      3    there was going to be a preference or whether there
      4    were preference or avoidance actions to be pursued.
      5    It's my observation, in speaking with the parties,
      6    that while the grounds for cause to convert this
      7    case might be insolvency or issues of a conflict, I
      8    think the issue of insolvency is more important and

      9    goes toward whether the court should grant the
     10    conversion of this case.

     11                        The issues of the insolvency,

     12    however, cannot be resolved,          I think at this point,

     13    at this moment, and that means today.              And I think

     14    the court would be assisted with the results from

     15    the bar date that has already been recfuested, and I

     16    believe that the date does not expire today, but it

     17    might expire early next week.            Those results might

     18    be important to the court to determine whether the

     19    debtor is actually administratively insolvent or

     2 0   not.


     21                        Based upon the comments of the

     22    parties today,      the court may accept those

     23    representations as useful, but I think that a

     24    response from the debtor, perhaps in a written

     25    submission or otherwise, with respect to the amount



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      2   of administrative claims outstanding, would be

      3   guiding to the court and definitely would be
      4   important to the Office of the U.S. trustee.
      5                         THE COURT:     The one problem I have

      6   is people will put in whatever they will put in by
      7   the bar date, as you note, but why would a wild
      8   card, to the extent to Mr. Chang's folks won in

      9   Utah, if they are successful, whatever was filed by
    10     the bar date would be swamped by the liability to

    11     the United States of America.           And I   haven't seen

    12    what the United States filed.            But I would suspect

    13     that they would have filed the administrative
    14     equivalent of what the proof of claims says, we got

    15     this thing out there and we think we are entitled

    16     to t h i s .

    17                          But, in any event, we would want the

    18     claim favor to whatever we derive.

     19                         THE COURT:     I'm going to invite Mr.

     20    Chang to comment when you are finished.

     21                         MS.   DAVIS:   Sure.

     22                         THE COURT:     If they did that,      I

     23    would hardly be surprised if they had --we are not

     24    going to get as much information because so much is
     25    going to be determined by the folks in Utah.



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      1                Magnesium Corporation of America
      2                        MS. DAVIS:       Your Honor, forgive me.

      3    I'm not sure what the status of this litigation is.

      4                        THE COURT:      I don't know if we know

      5    that or not.        I think Mr. Chang said matters were

      6    adjudicated and he didn't hold out on that, and
      7    he's the best person to speak on that.

      8                        MS. DAVIS:      Obviously, the debtors

      9    are facing administrative insolvency.              Ultimately
     10    an insolvent debtor calls for a Chapter 7 trustee

     11    or a conversion of the case, which immediately

     12    relieves     that   issue.

     13                         Your Honor,    to answer a couple of

     14    questions you had with respect to whether a Chapter

     15    7 trustee would continue with the professionals

     16    that have been retained by the debtors thus far in

     17    this case,     i t ' s more than likely the Chapter 7

     18    Trustees do not like to reinvent the wheel and I'm

     19    sure your Honor would make a recommendation

     20    immediately with respect to whether they should or

     21    should not,      and we would advise whoever is

     22    appointed that it would be likely for them to

     23    continue with whoever i s on board.             But at   some

     24    point, you have to stop the bleeding and with the

     25    professionals, the Chapter 7, the United States



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      2    trustee quarterly fees accruing, it would appear
      3    that the bleeding should stop at this point.
      4                        Your Honor,     I had a couple other

      5    points.     As your Honor is aware, a Chapter 7
      6    trustee has the requirement to marshal assets for
      7    the benefit of all creditors, and i t would appear

      8    to me, your Honor, that the continuation of these
      9    proceedings in Chapter 11 would only really inure
     10    the benefits of the economic benefits of the

     11    professionals retained thus far, and I don't really
     12    see how all creditors would benefit,

     13    notwithstanding the fact that we have the ETPSA

     14    litigation in Utah.

     15                        The other point, your Honor,          I

     16    believe Mr. Smolinsky made a request that your

     17    Honor, perhaps, have a hearing on final fees and

     18    allowable fees at this point.            Typically, in many

     19    cases, as your Honor is aware, the court will make

     20    a final ruling on professional fees before the

     21    court converts the case.           I don't really know if

     22    that is that's appropriate at this time.

     23                         I   don't know whether there's been a

     24    finding of any wrongdoing by counsel or not, but

     25    perhaps, again, if the case is converted, a Chapter



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      1                Magnesium Corporation of America
      2    7 trustee can get his arms around all the
      3    administrative fees that are outstanding.

      4                        And,    let me think of what else,        I

      5    echo the response of Ms. Grubin, in that any

      6    officers or directors that are working currently

      7    with the debtor would have an obligation to do the

      8    same thing with a Chapter 7 trustee.              That's it.      I

      9    hope my comments have been helpful to your Honor.

     10                        THE COURT:      Yes,    they have, thank

     11    you.

     12                        MS. DAVIS:       Thank you.

     13                        THE COURT:      Mr.    Chang, were my

     14    adoptions correct or incorrect?

     15                        MR.    CHANG:   Don't worry.

     16                        THE COURT:      Don't worry about being

     17    diplomatic.

     18                        MR.    CHANG:   It    i s correct.   We

     19    intend to f i l e an administrative claim with the EPA

     20    lawsuit, and the government may also file a claim

     21    of reclamation with a claim previously leased by

     22    Mag Corp.      On the issues that was what raised was

     23    the states of what I regard as the regular lawsuit,

     24    the EPA lawsuit,       as I   stated in the letter,       there

     25    are motions for summary judgment, and we have no



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      1                  Magnesium Corporation of America
      2    way of knowing whether they would be ruled on, and
      3    even if they were ruled on, I don't think it will
      4    dispose of the case entirely, but certainly it may
      5    go a long way to settling if there is a great deal
      6    of uncertainty even if there were a decision on the
      7    motions.

      8                        THE COURT:     Thank you.

      9                        MS. DAVIS:          Excuse me,    your Honor.

     10    I have one problem.         I have a conference on

     11    Adelphia, I was supposed to be on at 11, I need to

     12    call my office.

     13                        THE COURT:     You are excused for that

     14    purpose, and I will tell you what I'm going to do

     15    is I'11 take a recess to about quarter of 11 and

     16    then I'm going to give you at least some thoughts.

     17    And so we're      in recess u n t i l    11:15.

     18                        (Recess taken.)

     19                        MS. GRUBIN:         Thank you. Judge.

     20                        MR. TOP:     Your Honor, we'll keep the

     21    line open.

     22                        THE COURT:      I    would recommend that.

     23                        (Recess taken.)

     24                        THE COURT:      Have a    seat.      At    the

     25    outset    I   want to talk about what this case i s not.




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      2    This case is not, at least on the record presented
      3    to me so far, a case about fraud or mismanagement

      4    about an incumbent debtor or its counsel.                It's not

      5    a Hampton Hotel case, where a year or two ago I
      6    granted a motion by the U.S. trustee to convert a
      7    case based on the misconduct of the debtor in

      8    possession.      It's not even, in my view, a bleeding
      9    case where I     think that since the time of the sale

     10    the debtor has been very conscientious in trying to

     11    keep costs under control.

     12                        What is more important, in my view,

     13    is the inherent conflict that needs to be addressed

     14    by one means or another to insure that the claims,
     15    if any, and I underscored the if any, that

     16    bondholders or creditors might generally have, are

     17    properly investigated and prosecuted.

     18                        And the uncertainty with respect to

     19    administrative claims, and the potential, not the

     20    certainty, the potential that the United States or

     21    the EPA do prevail in Utah and have administrative
     22    claims that could swamp the others.

     23                        In other words,      this case,      if

     24    anything, is much more like the PSINet Consulting

     25    case,    where there was no indication that the



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      1                   Magnesium Corporation of America

      2    management of PSINet had improperly captained the
      3    PSINet Consulting's ship, but the company claims
      4    were such that the thought a trustee was required

      5    to insure that any identifiable claims against the
      6    corporate parent or the other entities in the
      7    corporate family could be properly addressed.
      8                         I usually prefer STN or Commodore

      9    orders to deal with conflicts of that character.                       I

     10    think that more precisely, and in a less

     11    heavy-handed way, deal with the concerns that need
     12    to be addressed.        Here, however,      I have unique

     13    needs.     I    have the need not to foreclose creditors

     14    from making a 108 argument or a 546(a)(1)(b)

     15    argument, although I don't want to pre-judge that

     16    in any way.

     17                         And,   frankly,   and I want to try to

     18    say this as antiseptically as I can, I prefer,

     19    frankly, to have an independent trustee consider

     20    whether or not to bring claims against the debtor's

     21    affiliates or others,         rather than the movants,            or

     22    at least in terms of having the movant's captaining
     23    the ship, where some of the claims that they might
     24    wish to assert, although they should certainly have

     25    the right to assert them, because they go back so



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      1                Magnesium Corporation of America
      2    far and/or because they relate to a debatable issue
      3    of insolvency, are not by any means slam-dunks.
      4                        My discretion in that regard is
      5    formed in part by the fact that the two counsel for
      6    the Creditors Committee, Willkie Farr and

      7    Gallagher, Chapman and Cutler, both are very

      8    capable law firms.        The matters of the dividends
      9    and even the management fees are matters that were
     10    of public record for a long, long time.
     11                        And the fact that they did not feel

     12    compelled immediately to take action causes me to

     13    wonder whether the claims -- again, I'm certainly

     14    not pre-judging them -- are not necessarily the

     15    slam-dunks that somebody might perceive that they

     16    are and the amount potentially to be recovered is

     17    very large, any equation that takes into account
     18    the likelihood of recovery also must take into

     19    account the likelihood of success, which is

     20    something that I'm not in a position to pre-judge.
     21                        With all of those things said,

     22    subject to what I'm going to say in a minute, I

     23    believe that we are going to need, and I say this
     24    reluctantly because I think the debtor's counsel

     25    has done a very good job in this case and has tried


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      2    very hard to maximize value, has tried very hard to
      3    get value, other than a deal with what turned out
      4    to be an affiliate.

      5                        We are going to need an independent

      6    captain of the ship.         And I don't believe that an
      7    STN Commodore order, notwithstanding my usual

      8    predilection for entering them, would skin the cat
      9    here.

     10                        My judgment in this regard is also

     11    informed by the fact that the two main battles that

     12    would be fought,       if the estate had to fight them

     13    one with the EPA and the United States government

     14    and the other with PacificCorp, would be handled by

     15    Utah counsel or regulatory counsel, respectively,

     16    rather than Chadbourne in any material respect.

     17    And, therefore,       I would not have the usual need to

     18    get the benefit or utilize the benefit of

     19    Chadbourne's learning.             And if I or a trustee were

     20    to conclude otherwise,         I    think we all agree that

     21    Chadbourne could continued to serve under 237(e)

     22    for a limited purpose to accomplish those goals, if
     23    needed.

     24                         r must say, by the way, that with

     25    respect to any claims that might be asserted,



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      1                Magnesium Corporation of America
      2    because of my uncertainties, again without
      3    pre-judging, as to their ultimate strength and
      4    because of the liquidity condition of this estate,

      5    I almost certainly will not approve any legal fees
      6    for either litigating or even investigating those
      7    claims, unless they are on a contingent fee basis.
      8    Therefore,     I believe that I need independent and

      9    objective review and management of this case with a
     10    trustee, which in the first instance could be

     11    either under 11 or 7.

     12                        I believe that the grounds for both

     13    are shown, although I think my earlier comments

     14    made clear that we are not talking about an (a)(1)

     15    to mismanagement, we are solely talking about

     16    what's in the interest of creditors.               And I    think

     17    that the discretion,        including but not limited to,

     18    that I    have vis-a-vis conversion,         and

     19    uncertainties, even though I have no knowledge as

     20    to the possibility of the administrative

     21    insolvency, provide like basis under 1112.

     22                        I am very mindful of the ways by

     23    which the Chadbourne firm has acted responsibly up

     24    to this date and has continued to act responsibly,

     25    even through this argument, and what Mr. Smolinsky


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      1                Magnesium Corporation of America

      2    said about wanting to be given an opportunity to
      3    consider whether he would withdraw this opposition.

      4    I'm going to give you a week to decide that, Mr.
      5    Smolinsky.

      6                        Likewise, I'm going to give you that
      7    same week to caucus with Ms. Grubin and Mr. Top and

      8    the U.S. trustee, and if the Indentured trustee

      9    wants to be heard, I'm not even going to keep the

     10    Indentured trustee out of that discussion,               to

     11    consider whether 11 is superior to 7, although I

     12    must say that my inclination is to say that the 7
     13    is the more appropriate vehicle under these

     14    circumstances.

     15                        If there is a     consensus or agreement

     16    that an 11 trustee more appropriately addresses the

     17    needs of creditors, than is the 7 trustee,               I would

     18    not be of a mind to veto that.            In the inability to

     19    agree, I think I would more likely come out with
     20    the view that the 7 trustee is more appropriate.

     21                         I see that Mr. Zipes has come in and

     22    is now representing the interests of the U.S.

     23    Trustee,     rather than Ms. Davis.

     24                        Mr. Zipes,     I know the U.S. trustee

     25    has a normal preference under circumstances like


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      1                Magnesium Corporation of America

      2    this when a judge believes that a Chapter 7

      3    conversion is ultimately going to be appropriate or
      4    judges act without delay here; however,
      5    notwithstanding that preference which I share, this
      6    is not a case of fraud or mismanagement, this is

      7    not a case of bleeding, this is not a case of a

      8    fire that needs to be put out within the next

      9    couple of days.       I would rather permit the
     10    thoughtful efforts by the parties in interest to

     11    arrange a smooth conversion, and that risks that
     12    one sometimes encounters, like in a Hampton Hotel

     13    situation, where immediate conversion is

     14    appropriate, are not my view presently here.

     15                        This is not a case of a        corrupt

     16    debtor,    i t is a case where the debtor,         no matter

     17    how hard it tries, has certain realities with which

     18    i t has to confront i t s e l f .

     19                        Not by way of reargument, but I will

     20    take questions.       Obviously, what is contemplated in
     21    this is I need Mr. Smolinsky to caucus with his

     22    folks and to give thought to what he wants his

     23    position to be, and to caucus with Ms. Grubin about

     24    implementing mechanics.

     25                        In the event of a      failure to agree,



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      2    I will arrange at your option, either a conference
      3    call for or a hearing to perceive how we proceed
      4    next.     But everybody here is a responsible lawyer,
      5    and I think that we can probably achieve much of

      6    this by consensus.

      7                        Mr. Smolinsky, are you about to

      8    rise?

      9                        MR.        SMOLINSKY:    Yes,    sir.   I    do have

     10    one question that would help us.                 We'll obviously
     11    undertake to have those conversations with all

     12    parties.

     13                        The one question I have that would

     14    provide us guidance, you had mentioned that you

     15    were uncomfortable putting the Ad Hoc Committee in

     16    the place of the examiner, per se, to investigate

     17    the matter.

     18                        THE COURT:          I   didn't use the word

     19    examiner,     I   think we are talking about a trustee.

     20                        MR.        SMOLINSKY:     Yes,   one of the

     21    differences between a Chapter 11 trustee and a

     22    Chapter 7 trustee, in the Chapter 11 Trustee, it

     23    would be your Honor's determination as to who the

     24    trustee would be,          I    believe --

     25                         MR.       ZIPES:   That's not right.



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          2                        MR.   SMOLINSKY:       I t ' s not?

          3                        THE COURT:      No.     My understanding is

          4    I will decide there will be a Chapter 7 trustee,

          5    and then that the U.S. Trustee's Office appoints

          6    one of a consulting parties in interest, but I'm

          7    certainly going to give Mr. Zipes an interest and
          8    I'm, hopefully, if you would be yielding to Mr.

          9    Zipes, which might be better to yours or mine.
         10                        MR. SMOLINSKY:          I would just like

         11    to point out that in a Chapter 7, you would have a

         12    panel appointed and the creditors would be able to

         13    elect their own trustee.            And that may be a

         14    consideration in our discussions with regard to how

         15    we fashion an order that would fulfill your Honor's

         16    issue that you are looking for someone who is truly

         17    independent.

         18                        THE COURT:       Mr.   Zipes, would you

         19    like to comment?          I know this puts you into the

         20    middle of something without a whole lot of

         21    preparation.

         22                        MR.    ZIPES:     This i s the Achaian of

         23    1210, 1107 and 1104.          Your understanding is correct

         24    and Mr. Smolinsky's is correct as well.                   In a

         25    Chapter 11 situation, we would appoint a panel



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      1                Magnesium Corporation of America

      2   under 701 and there would be a creditors meeting,

      3    at which point there would be an election with the
      4    creditors, so if the creditors had the votes, they

      5    would vote to appoint a trustee.            In a Chapter 11

      6    situation, I've never seen that occur where there's

      7    an election, and I don't believe it's the same

      8    statute, although I'm just speculating.              I believe
      9    1104 we would just appoint the Chapter 11 trustee.

     10                          THE COURT:     Those facts would

     11    influence by judgement.

     12                          MR.   ZIPES:   I'm more confident with

     13    an 11 than a     7.

     14                          THE COURT:     I really would like

     15    independence in this investigation.             All right, I
     16    don't know, though, that that goes to the level of
     17    a ruling.      If that can't be consensually resolved,

     18    I   know that the 11 trustee was the Ad Hoc

     19    Committee's first request.            If you guys can't

     20    resolve that consensually, then I will deal with it
     21    in about a     week's time.

     22                          Anything else, anybody?

     23                          Okay, thank you.     We're adjourned.

     24                          I want to apologize to the people

     25    who have been waiting for the siibsequent matters on



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          2    the calendar.

          3                        MR.   SMOLINSKY:      Thank you very

          4    much,   your Honor

          5                        MR.    TOP:   Thank you,    your Honor.

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                                                                             73


      1


      2                       CERTIFICATE

      3   STATE OF NEW YORK             }
                                        }     SS. :
      4   COUNTY OF WESTCHESTER )

      5                  I, Denise Nowak, a Shorthand Reporter

      6             and Notary Public within and for the State
      7             of New York, do hereby certify:

      8                        That I reported the proceedings in
      9             the within entitled matter, and that the

    10              within transcript is a true record of such
     11             proceedings.

     12                        I   further certify that I am not

     13             related, by blood or marriage, to any of the
     14             parties in this matter and that 1 am in no
     15             way interested in the outcome of this
     16             matter.

     17                        IN WITNESS WHEREOF,       1 have hereunto

     18              set my hand this AL day of^
     19              2003.

     20


     21
                                        DENISE NOWAK
     22


     23


     24


     25




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{SystemName}                                                              https://ecf.nysb.circ2.dcn/cgi-bin/Dispatch.pl749592517639160
               01-14312-mkv        Doc 385-1 Filed 02/24/03 Entered 02/26/03 09:00:53                        Pdf of
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        Miscellaneous:                                                                             ^     .
        01-14312-reg Magnesium Corporation of America


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        Document description:Main Document
        Original fiIename:M:/Toya's claims/01-14312 feb 14.pdf
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        [STAMP NYSBStamp_ID=842906028 [Date=2/26/2003] [FileNumber=l 986090-0]
        [9998d879f5e76f30332e08022b046c5c0e7281cd9c52317117e228ebeelae2b5389fd
        275ceb6711e23d0c08eea2e55ae798fe65626092e68187ae4e306e3526e]]

        01-14312-reg Notice will be electronically mailed to:

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